                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                              Case No. 3:07CR135-FDW

UNITED STATES OF AMERICA            )
                                    )
            v.                      )
                                    )                                 ORDER
ANDREW LEE MOORE                    )
___________________________________ )

       THIS MATTER is before the Court upon a motion of the defendant for early termination
of his supervised release, (Doc. No. 30), and the government’s response in opposition, (Doc. No.
31).
       After one year, Title 18, United States Code, Section 3583(e)(1) allows a court to
terminate a defendant’s term of supervised release if, after considering various Title 18, United
States Code, Section 3553(a) factors “[the court] is satisfied that such action is warranted by the
conduct of the defendant released and the interest of justice.” Id. The defendant was convicted
of possession of more than 600 images of child pornography. After rejecting the defendant’s
request for a below-guidelines sentence, the Court sentenced him to 80 months’ imprisonment
and a lifetime term of supervised release. Doc. 25. The defendant began his term of supervised
release on August 20, 2013. Doc. 27.
       The defendant notes that since he tested positive for cocaine in November 2015, he has
been in full compliance with the terms of his supervision. Doc. 30 at 1. He asserts that the Court
should end his supervision term because of his success on supervision as well as his work and
limited criminal history. Doc. 30. The defendant also claims that he “presents the lowest degree
of danger to the public.” Doc. 30 at 3. The government contends that, as a sex offender, the
defendant requires a more significant term of supervision than other types of offenders and that,
based on the factors listed in Title 18, United States Code, Section 3553(a), the interest of justice
requires the Court to deny the defendant’s motion. Doc. 31.
       The Court acknowledges that, with the exception of a positive drug test in 2015, the
defendant has performed satisfactorily on supervised release. However, the Court expects him to,
and the defendant has not otherwise demonstrated “exceptionally good behavior that makes the
previously imposed term of supervised release ‘either too harsh or inappropriately tailored to

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serve’ general punishment goals.” Folks v. United States, 733 F.Supp.2d 649, 651 (quoting
United States v. Lussier, 104 F.3d 32, 36 (2d Cir.1997)). Additionally, consideration of the
applicable 3553(a) sentencing factors and the interest of justice requires continued supervision.
       As they did at the defendant’s sentencing hearing, the sentencing factors still weigh
heavily in favor of lifetime supervision. The defendant paid to join a child pornography website
and downloaded hundreds of child pornography images on a nightly basis. PSR ¶¶ 4, 7. He did
this with ease—all he needed was a computer and an internet connection—and even though he
knew it was wrong. PSR ¶7. He admitted he had trouble stopping. Id. The defendant also
admitted that most of the child pornography he watched was of children between the ages of five
and ten. Id. The defendant also said that when he was five and seven years old, he “had a lot of
kid sex” with peers. Id. and Doc. 21, Ex. 4, p. 1.
       In addition to this deviant and criminal behavior, the defendant has a history of drug and
alcohol use. He has a conviction for driving while impaired, a psychologist diagnosed him with
Cannabis Abuse, and he tested positive for cocaine two years into his term of supervised release.
PSR ¶¶ 6, 28, 34, 35, 38, 48 and Doc. 21, Ex. 4, pp. 2, 4. Moreover, the defendant has had
anger-management problems, and the psychologist found that he is at risk for engaging in porn-
aided fantasies of child sexuality. Doc. 21, Ex. 4, pp. 2, 4.
       Given his history, that the defendant apparently has stopped engaging in criminal activity,
including drug use, is likely a tribute to law enforcement intervention and his time on
supervision. Now, only seven years into his life term of supervision, is not the time to end
supervision. The nature and circumstances of the offense, as well as his history and
characteristics, weigh heavily in favor of keeping the defendant on supervised release.
       Likewise, the Sentencing Commission’s policy statements strongly weigh against early
termination of the defendant’s release. The Guidelines recommend that sex offenders receive
the maximum term of supervised release, which in this case is life. U.S.S.G. §5D1.2(b). The
defendant’s suggestion that the Court should take action when the Sentencing Commission has
not flouts the statutory requirement to consider the Sentencing Commission’s policy statements.
See 18 U.S.C. §§ 3583(e), 3553(a)(5). Although in its 2012 report the Commission stated that it
was “considering” changing its recommendation of lifetime supervision for sex offenders, the
Commission has not changed the recommendation. See U.S.S.G. § 5D1.2(b)(2).



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       Other sentencing factors, including “the need for the sentence imposed to afford adequate
deterrence to criminal conduct” and “to protect the public from further crimes of the defendant,”
weigh against early termination. 18 U.S.C. § 3553(a)(2)(B) and (a)(2)(C). Although the
defendant deleted most of the child pornography before agents seized his computer, by his own
admission, "his mind has been fucked up by that damn internet," and he had a hard time
attempting to stop his conduct, which he clearly knew was wrong. PSR ¶7. It is reasonable to
conclude that law enforcement intervention, his incarceration, and his time on supervision has
played a major role in preventing his recidivism. Continued monitoring of his computer use is
essential and necessary to protect the public, as monitoring software and the knowledge that he is
subject to supervision by the U.S. Probation Office have been effective deterrents. The
sentencing factors and the interests of justice weigh heavily in favor of continued supervision.
        The defendant is a sex offender who committed a serious crime with numerous victims
and who has a troubling history. Congress and the Sentencing Commission have opined that
people like him should serve lengthy terms of supervised release.
       IT IS, THEREFORE, ORDERED that the defendant’s motion, (Doc. No. 30), is
DENIED.
       The Clerk is directed to certify copies of this order to the defendant, counsel for the
defendant, to the United States Attorney, the United States Marshals Service, and the United
States Probation Office.
                                          Signed: November 9, 2020




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